                          4:18-cv-04063-SEM-TSH # 133-3              Page 1 of 25
                                                                                                          E-FILED
       4:18-cv-04063-SEM-TSH # 121                Page 9 of 36         Monday, 28 September, 2020 01:42:09 PM
                                                                                   Clerk, U.S. District Court, ILCD


        37.     Based on Plaintiffs Assignment History listing him as a Catholic participant since

March 27, 20 15, Plaintiff would have been allowed to attend those services. [Ex. 3, Declaration of

Manuel Rojas, ,i 23].

        38.     During the time relevant to this lawsuit, Plaintiff was able to attend Tuesday

Catholic services ..a good 90 percent" of the time. [Ex. 1, Deposition of Plaintiff, 60: 11-17].

        39.     Plaintiff missed approximately 10 percent of the Tuesday Catholic services due to

the institution being on lockdown or Plaintiff being in segregation. [Ex. I, Deposition of Plaintiff,

60:14-24).

        Plaintiffs Alternative Religious Practice

        40.     Since being at Hill Correctional Center, Plaintiff has been going to service every

Tuesday, whether that service be Cursillo, Ultreya, or regular Catholic services, unless the facility

was on lockdown. [Ex. I, Deposition of Plaintiff, 48:2-22].

        41.     While at Hill Correctional Center, Plaintiff had access to a Bible. [Ex. 1, Deposition

of Plaintiff, 49:7-14].

       42.      When Plaintiff did not attend Cursillo, Plaintiff was able to engage in the following

aspects of religious practice:

                a. Plaintiff was able to speak with the individuals who attended Cursillo to discuss

                    what occurred at the event;

                b. Plaintiff was always able to receive the paperwork concerning the three

                    questions that were discussed at Cursillo;

                c. Plaintiff was able to go over the Cursillo paperwork and the three questions in

                    his head as he would have had he attended Cursillo; and

                d. Plaintiff was able to read his Bible; [Ex. I, Deposition of Plaintiff, 81: 15-82:9).



                                                                                                     9
                        4:18-cv-04063-SEM-TSH # 133-3                 Page 2 of 25
       4:18-cv-04063-SEM-TSH # 121               Page 11 of 36




        50.    Grievance Officer, Steve Gans, then found that, based on a review of all available

information, which included Chaplain Rojas's response. there was no factual basis to substantiate

Plaintiff's claims that he had been discriminated against or that his rights had been violated. [Ex.

6, Plaintiff's April 16, 2016 Grievance].

       Stephanie Dorethy

        51 .    Plaintiff alleges Stephanie Dorethy denied him a religious diet by not signing off

on Plaintift~s religious diet request form in 2018. [Ex. I , Deposition of Plaintiff, 9 1:5- 16].

        52.     Plaintiff has never spoken to Stephanie Dorethy about his request for a religious

diet. (Ex. 1, Deposition of Plaintiff, 91: 14-16].

        53.     Stephanie Dorethy delegated her duties concerning signing off on religious requests

to her assistant warden. [Ex. 1, Deposition of Plaintiff: 26:7-17; Ex. 5, Dorethy September 20,

2019 Interrogatory Responses, Response 3].

       Freddie Britton

        54.    Plaintiff alleges Freddie Britton knew that Catholic Prisoners at Hill Correctional

Center were not being provided their Catholic meal and did not do anything to help them. [Ex. 1,

Deposition of Plaintiff, 94: 18-95:2].

        55.    Freddie Britton could not provide special diet meals unless he had a list from the

Chaplain. [Ex. 1, Deposition of Plaintiff, 98:3-7].

        56.    For an offender to receive a special diet tray, an offender must receive approval

from the facility Chaplain and the Warden, or her designee. [Ex. 7, Defendant Britten's Response

to Plaintiff s September 18, 2019 Request for Admissions, Response 5].




                                                                                                    11
                      4:18-cv-04063-SEM-TSH # 133-3                Page 3 of 25
      4:18-cv-04063-SEM-TSH # 121              Page 13 of 36



supported motion for summary judgment; the requirement is that there be no genuine issue of

material fact." Id. , at 550 U.S. at 380 (emphasis original). An issue of material fact exists only if

"the evidence is such that a reasonable jury could return a verdict for the nonmoving party."

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). "The nonmovant will successfully

oppose summary judgment only when it presents definite, competent evidence to rebut the

motion." Vukadinovich v. Bd ofSch. Trs. ofN. Newton Sch., 278 F.3d 693, 699 (7th Cir. 2002)

(internal quotiations omitted).

       A defendant moving for summary judgment on the grounds that a plaintiff cannot prove an

essential element of the case plaintiff must prove at trial, has no burden to support his motion with

affidavits or other evidence negating the plaintiffs claim. Modrowski v. Pigatto, 712 F.3d 1166,

1168- 70 (7th Cir. 2013). Instead, a defendant may simply point out to the Court the absence of

evidence to support the claim plaintiff bears the burden of proving at trial. Modrowski, 712 F.3d

at 1168. The Seventh Circuit has found that the United States Supreme Court has '·expressly

rej ected" the argument that a defendant moving for summary judgment bears the burden of

producing evidence to negate an element of the plaintiffs case. Green v. Whiteco Industries, Inc.,

17 F.3d 199, 201 n.3 (7th Cir. 1994).

                                           ARGUMENT

    Plaintiff claims: (1) Defendants Rojas, Dorethy, Britton, frost, Gans, Pelker, and Baldwin

violated his First Amendment 1ights by failing to provide him with meatless meals on Fridays

during Lent; (2) Defendants Rojas, Dorethy, Britton, Frost, Gans, Pelker, and Baldwin provided

offenders with other religious affiliations with special religious diets but refused to provide special

religious diets to Catholics during Lent; (3) Defendant Rojas retaliated against Plaintiff for

complaining about a religious diet by removing Plaintiff from the list of individuals allowed to



                                                                                                     13
                        4:18-cv-04063-SEM-TSH # 133-3             Page 4 of 25
      4:18-cv-04063-SEM-TSH # 121             Page 15 of 36



not the knowledge and action of persons they supervise." Burks v. Raemich, 555 F.3d 592, 594

(7th Cir. 2009).

        Furthermore, participation in the prison grievance procedure, including ruling against an

offender in a grievance does not cause or contribute to a constitutional violation. Williams v.
                                                                                                   th
Raemisch, 545 Fed. Appx. 525, 529 (7th Cir. 2013); George v. Smith, 507 F.3d 605, 609-10 (7

Cir. 2007) ("Ruling against a prisoner on an administrative complaint does not cause or contribute

to the violation.'').

        Here, Plaintiffs claims are against Defendants Baldwin, Pelker, Gans, Frost are solely

related to their responses to Plaintiff's April 14, 20 l 6 grievances and grievance appeals. [Exhibit

1, Deposition of Plaintiff, 113:11-116:22, 112:10-12, 99:16-103:4, 107:16-108:13; Ex. 6,

Plaintiff's April 16, 2016 Grievance]. However, this is insufficient to establish liability against

them for Plaintiff's claims.

        Here, the correctional counselor, John Frost, contacted Chaplain Rojas in order to respond

to Plaintiffs April 14, 2016 grievance. Defendant Frost provided Plaintiff with the Chaplain' s

response, in which Chaplain Rojas indicated that he had not discriminated against Plaintiff or the

other offenders who were not allowed to attend Cursillo because Cursillo was not a mandatory

Catholic service, that some individuals were not allowed to participate in one Cursillo event due

to safety and security concerns, and that a decision had been made to allow newer Cursillo

participants to participate. [Ex. 6, Plaintiffs April 16, 2016 Grievance, p. 37].

         In that response, Chaplain Rojas also explained that Deacon Joe LaHood, the Prison

Ministry Coordinator for the Archdiocese of Peoria, explained to him that Lent was about giving

up something important, not necessarily food. [Ex. 6, Plaintiff's April 16, 2016 Grievance, p. 37].

Chaplain Rojas further explained that Lent observance at Hill Correctional Center was not



                                                                                                   15
                     4:18-cv-04063-SEM-TSH # 133-3                 Page 5 of 25
      4:18-cv-04063-SEM-TSH # 121              Page 17 of 36



[Ex. 1, Deposition of Plaintiff, 91:5-16]. However, Defendant Dorethy delegated her duties

concerning signing off on religious requests to her assistant warden. [Ex. 1, Deposition of Plaintiff,

26:7-17; Ex. 5, Dorethy September 20, 2019 Interrogatory Responses, Response 3]. Therefore,

because Defendant Dorethy was not responsible for signing off on religious diet requests, Plaintiff

cannot establish Defendant Dorethy was personally involved in this alleged deprivation and

Defendant Dorethy is entitled to summary judgment in her favor.

    c. Plaintiff cannot provide evidence showing Defendant Britton was personally involved
       in denying Plaintiff a religious diet during Lent.

       Plaintiff alleges Freddie Britton knew that Catholics at Hill Correctional Center were not

being provided their Catholic meal and did not do anything to help them. However, Plaintiff cannot

provide any evidence showing Defendant Britton had the authority to provide offenders specific

meals without approval from the Chaplain and the Warden, or her designee.

       For an offender to receive a special diet tray, an offender must receive approval from the

facility Chaplain and the Warden, or her designee. [Ex. 7, Defendant Brittan's Response to

Plaintiff's September 18, 2019 Request for Admissions, Response 5]. Plaintiff cannot provide

evidence that he was ever approved for a diet tray and that Defendant Britton denied him that

special diet tray. Furthermore, on the one occasion Plaintiff asked Defendant Britton for a Catholic

meal, Defendant Britton checked to see if there was a list for a Catholic meal. [Ex. 7, Defendant

Britton' s Response to Plaintiffs September 18, 2019 Request for Admissions, Response 8].

Because there was no list for a Catholic meal, Defendant Britton could not provide Plaintiff a

special diet tray, since he cannot provide special diet trays to offenders if they are not on a list to

receive a special diet tray. [Ex. 7, Defendant Britton' s Response to Plaintiffs September 18. 20 l 9

Request for Admissions, Response 8].




                                                                                                     17
                      4:18-cv-04063-SEM-TSH # 133-3                Page 6 of 25
      4:18-cv-04063-SEM-TSH # 121              Page 19 of 36



Fridays; instead, he has abstained from eating meat on Fridays. [Ex. 1, Deposition of Plaintiff:

58: 10- 59: 15). During the timeframe relevant to this lawsuit, Plaintiff was able to abstain from

eating meat on about 95% of Fridays. [Ex. 1, Deposition of Plaintiff, 60-7-10, 125:2 1-126:5).

       Plaintiff cannot provide any evidence showing this abstention from meat on Fridays during

Lent caused him any adverse health effects whatsoever. The only physical harm Plaintiff alleges

he suffered from not being served meatless meals every Friday is weight loss. [Ex. 1, Deposition

of Plaintiff, 63 :22-64: 14). However, the most weight Plaintiff alleges he may have lost was "like

maybe 5 pounds or something." [Ex. 1, Deposition of Plaintiff, 64:11 - 14). Regardless, no doctor

has ever told Plaintiff that the weight loss he suffered was a result of Plaintiff not getting meatless

meals on Fridays, and Plaintiff cannot provide any verifiable medical evidence connecting his

alleged weight loss to the failure to provide three meatless meals during Lent. [Ex. 1, Deposition

of Plaintiff, 65:10-15).

       Furthermore, Plaintiff was able to supplement his diet on Fridays through commissary

purchases. In 2016, Plaintiff was able to purchase meatless food products at the Hill Correctional

Commissary during Lent, including, at least: on February 19, 2016, two cookies, two cashews, one

oatmeal, two cereals, two tortillas, eight sodas, eight chili refried beans and rice, one cheese

jalapeno, three coffee, eight BBQ sauce, one instant milk, two apple pies, and two fudge dip

granola; on March 7, 2016, one instant milk, three tuna withjalapenos, two popcorns, two cereals,

five sour cream and onion chips, two nutty bars, four refried beans and rice, one cashews, one

coffee, one to1tillas, six BBQ sauce, twelve chili noodles, and six sodas; and on March 18, 2016,

two popcorn, two sour cream and onion chips, two cheese jalapeno, two tortillas, two tuna, two

mayo, two Kool Aid, one cookie, one cashews, two sodas. [Ex. 4, Plaintiffs [nmate Commissary

Fund, pp. 1-3). During Lent in 2016, Plaintiff also purchased numerous food items containing



                                                                                                     19
                       4:18-cv-04063-SEM-TSH # 133-3                Page 7 of 25
      4:18-cv-04063-SEM-TSH # 121              Page 21 of 36



         The.refore, because Plaintiffs religious exercise was not substantially burdened,

Defendants are entitled to summary judgment on Plaintiff's First Amendment free exercise claim.

   3. Plaintiff cannot provide any evidence showing Defendants intentionally and
      purposefully discriminated against him in violation of the Fourteenth Amendment.

         "A prison adm inistrative decision may give rise to an equal protection claim only if the

plaintiff can establish that the prison officials intentionally and purposefully discriminated against

him. Meriwether v. Faulkner, 821 F.2d 408, 415 n. 7 (7th Cir. 1987). To prove that defendants

violated plaintiff's rights to equal protection, plaintiffs must show that defendants' actions both

had a discriminatory effect and were motivated by a discriminatory intent. Chavez Illinois State

Police, 251 F.3d 612, 635-36 (7th Cir. 2001). A person bringing an action under the Equal

Protection Clause may not merely show that he was treated unfairly as an individual; "the

gravamen of equal protection lies not in the fact of deprivation of a right but in the invidious

classification of person aggrieved by the state's action. Shango v. Jurich, 681 F.2d 1091, 1104 (7th

Cir. 1982). The decisionrnaker must have selected or reaffirmed a particular course of action at

least in part because of, not mereJy in spite of its adverse effects upon an identifiable group." Webb

v. Budz, 480 F. Supp. 2d 1050, 1056-57 (N.D. Ill. 2007) (internal quotations omitted).

         Here, Plaintiff cannot provide any evidence that Defendants acted with discriminatory

intent, that Defendants' actions had a discriminatory effect on his specific religion, or that

Defendants acted because of the adverse effects that their actions would have on an identifiable

group.

         The evidence on the record shows Defendant Rojas did not purposefully and intentionally

discriminate against Plaintiff, and Plaintiff cannot provide evidence showing Defendant Rojas's

alleged actions were motivated by discriminatory intent. Instead, Defendant Rojas looked into

 Plaintiffs concerns and spoke with the individuals who would be aware of the requirements of the

                                                                                                    21
                       4:18-cv-04063-SEM-TSH # 133-3              Page 8 of 25
      4:18-cv-04063-SEM-TSH # 121              Page 23 of 36




       Here, solely for the purpose of summary judgment, Defendant Rojas does not dispute that

Plaintiff repeatedly complained to Defendant Rojas about the lack of Lent meals over the course

of thirteen years-from 2005 to the time Defendant Rojas retired in 2018- and therefore, engaged

in speech protected by the First Amendment. However, Plaintiff cannot establish a causal

connection between the eleven years of complaints leading up to Plaintiff's temporary exclusion

from Cursillo and Ultreya on March 15, 2016.

       "To demonstrate the requisite causal connection in a retaliation claim, [aJ plaintiff[] must

show that the protected activity and the adverse action are not wholly unrelated." Sauzek v. Exxon

Coal USA, Inc., 202 F.3d 91 3, 918 (7th Cir. 2000). Suspicious timing alone does not support a

reasonable inference of retaliation. Dace v. Smith- Vasquez, 658 F.Supp.2d 865, 881 (S.D. Ill.

2009). "[I]nstead, plaintiffs must produce evidence that somehow ties the adverse [action] to the

plaintiffs protected actions. The fact that one event preceded another does nothing to prove the

first event caused the second." Id. (internal citation omitted); Andonissamy v. Hewlett-Packard

Co. , 547 F.3d 841 , 851 (7th Cir. 2008) ("mere temporal proximity is not enough to establish a

genuine issue of material fact.") (internal quotation omitted).

       Here, Plaintiff alleges he complained to Defendant Rojas about Lent meals- the protected

speech-for more eleven years prior to Plaintiff allegedly being removed from the list to

participate in Cursillo on March 15, 2016. [Ex. l, Deposition of Plaintift~ 69: 13-70:7; Ex. 6,

Plaintiffs April 16. 201 6 Grievance]. Because of the lengthy history of Plaintiffs complaints,

Plaintiff cannot establish a causal connection between his complaints and Defendant Rojas's

preventing Plaintiff from attending Cursillo and Ultreya on March 15, 2016. No reasonable

inference can be made that eleven years of complaints led to Pla intiffs temporary exclusion from

Cursillo and Ultreya in March 2016.



                                                                                                23
                       4:18-cv-04063-SEM-TSH # 133-3                 Page 9 of 25
      4:18-cv-04063-SEM-TSH # 121               Page 25 of 36




previously been able to attend Cursillo or Ultreya to participate in those events. If everyone who

requested was allowed to attend these events, the number of individuals in the Chapel would

exceed the maximum occupancy limit of the Chapel. [Ex. 3, Declaration of Manuel Rojas, ,i 11].

Defendant Rojas's clerk would go through the list of individuals who wanted to participate.

determine who was eligible to participate, and Defendant Rojas would issue call passes to those

individuals so they could attend. [Ex. 3, Declaration of Manuel Rojas,~ 12].

       Here, Defendant has pointed to a specific safety and security concern-maximum

occupancy limitations of the Hill Correctional Center Chapel-and specific non-retaliatory

reasons-a neutral rule allowing newer offenders to participate in Cursillo and Ultreya when too

many offenders requested to participate-for Plaintiffs specific temporary exclusion from

Cursillo and Ultreya. This safety and security concern has been corroborated by the current

Chaplain of Hill Correctional Center. [Ex. 2, Declaration of Karen Norman Rees, ,i,i 5-8].

Therefore, Plaintiff cannot provide evidence sufficient to establish a causal connection between

his protected activity and the allegedly adverse action, and Defendant Rojas is entitled to summary

j udgment on Plaintiffs First Amendment retaliation claim.

   5. Plaintiff's Injunctive Relief Claim Should be Dismissed.

       While not entirely clear, it appears Plaintiff seeks injunctive relief to force Hill Correctional

Center to provide him with meatless meals during Lent. Because meatless meals are now provided

at Hill Correctional Center during Lent and because there is no ongoing violation to remedy, this

claim for injunctive relief is moot, barred by sovereign immunity, and barred by the Prison

Litigation Reform Act.




                                                                                                     25
                      4:18-cv-04063-SEM-TSH # 133-3               Page 10 of 25
      4:18-cv-04063-SEM-TSH # 121              Page 27 of 36




Correctional Center provide three meatless meal options each Friday during Lent in future years.

[Ex. 2, Declaration of Karen Norman Rees, ,i 3].

       In Bey v. Haines, the plaintiff sued to force his current prison to keep a full-time dentist on

staff to reduce long wait times. 802 Fed. Appx. 194, 200 (7th Cir. 2020). The district court

dismissed the plaintiff's injunction claim as moot. Id. Because it was undisputed that the

Department of Corrections had hired a full-time and a part-time dentist for his prison and that wait

times had been reduced, the Seventh Circuit found that the plaintiff's request for injunctive relief

was moot and affirmed dismissal of the plaintiff's claim.

       Here, as in Bey, the requested injunctive relief has already been granted by Hill

Correctional Center, and Plaintiff cannot provide any evidence showing there is a substantial

likelihood that he will again be subjected to the alleged violation of his rights under RLUIPA.

Therefore, Plaintiff's injunctive relief claim should be dismissed. Because the only remedy

available to Plaintiff under RLUIPA is injunctive relief, Plaintiff's RLUIPA claim should be

dismissed in its entirety.

    b. Plaintifrs Claim for Injunctive Relief is Barred by the Principles of Sovereign
        Immunity.

        The Eleventh Amendment expressly recognizes the limitations ofjurisdiction of the federal

courts imposed by the sovereignty of the states, see Alden v. Maine, 527 U.S. 706, 729-30 (1999),

and, thus, ''an unconsenting State is immune from suits brought in federal courts by its own citizens

as well as by citizens of another state." Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89,

l 00 (1984). Simply put, sovereign immunity extends to prohibit all suits by individuals against a

State in federal court, irrespective of the relief sought. Republic of Paraguay v. Allen, 134 F.3d

622, 627 (1988). In Ex parte Young, 209 U.S . 123 (1908), the Supreme Court established a limited

exception to a State's sovereign immunity in cases where a plaintiff challenges the constitutionality

                                                                                                    27
                      4:18-cv-04063-SEM-TSH # 133-3                Page 11 of 25
      4:18-cv-04063-SEM-TSH # 121              Page 29 of 36




       Here, it is undisputed that Hill Correctional Center provided offenders with meatless meal

options on Fridays during Lent in 2020 and that the current Chaplain of Hill Correctional Center

intends to have Hill Correctional Center continue to provide meatless meal options during Lent.

Because Plaintiff cannot show a contemporary violation of federal law that will likely continue

into the future, his claim for injunctive relief is prohibited by the Eleventh Amendment.

   c. Plaintiffs requested injunctive relief is also prohibited by the Prison Litigation
      Reform Act.

       Furthennore, Plaintiffs requested injunctive relief is barred by the Prison Litigation

Reform Act. The Prison Litigation Reform Act provides that "prospective relief in any civil action

with respect to prison conditions shall extend no further than necessary to correct the violation of

the Federal right of a particular plaintiff or plaintiffs." 18 U.S.C. § 3626(a)(l )(A). Here, Plaintiff

cannot claim that he is presently suffering any violation of a federal right related to this action. In

addition to the limitations imposed by Article III of the Constitution and by the Eleventh

Amendment, the Prison Litigation Reform Act adds another layer of protection to Defendants. If

there is nothing to remedy, there can be no prospective relief ordered. West~fer v. Snyder, 2013

WL 1286971, at* 2 (S.D. Ill. Mar. 27, 2013) (court vacated injunction in accordance with 18

U.S.C. § 3626(a)(l )(A) where the facility at issue was closed and there was nothing left to remedy).

Plaintiffs request for injunctive relief cannot overcome the limitations imposed by the PLRA.

    d. To the extent Plaintiff seeks injunctive relief with respect to Cursillo attendance,
       Plaintiffs claim should be dismissed.

        Plaintiff admits there is no chance he will be removed from the list to participate in Cursillo

or Ultreya and has been participating consistently. [Ex.I, Deposition of Plaintiff, 148:6-17].

Therefore, as discussed above, any injunctive relief sought with regards to this claim is moot,




                                                                                                     29
                       4:18-cv-04063-SEM-TSH # 133-3                Page 12 of 25
         4:18-cv-04063-SEM-TSH # 121            Page 31 of 36




14). No doctor has ever told Plaintiff that the weight loss he suffered was the result of Plaintiff not

being provided meatless meals on Fridays during Lent. [Ex. 1, Deposition of Plaintiff, 65: I 0-15].

Furthermore, Plaintiff cannot provide any evidence connecting uncorroborated allegation of

weight loss to a lack of meatless meals on Fridays during Lent. Even if Plaintiff could provide

such evidence, Plaintiffs alleged minor weight loss is insufficient to support his assertion that he

suffered a physical injury. See Pearson v. Wellborn, 471 F.3d 732, 744 (7th Cir. 2006) (a plaintiffs

unelaborated claim that he was mentally and physically depressed and lost at least 50 pounds was

insufficient to support the plaintiffs assertion that he suffered a physical injury); Winger v. Pierce,

2011 WL 13131248, *7 (C.D. Ill. Oct. 24, 2011) (finding the plaintiff's vague complaints of weight

loss, lethargy, headaches, aches, and pains are too de minimis to constitute a showing of physical

injury under Section 1997e(e)); Davis v. District of Columbia, 158 F.3d 1342, 1349 (C.A.D.C.

1998).

         Therefore, Plaintiffs claims for compensatory damages are barred by the Prison Litigation

Reform Act and Defendants are entitled to sununary judgment in their favor on those claims.

   7. Defendants are entitled to judgment in their favor on Plaintiff's claims for punitive
      damages.

         Even if the Court finds there is a question of material fact which precludes judgment in

favor of Defendants on any of Plaintiffs claims, Defendants are sti ll entitled to summary judgment

on Plaintiffs claims for punitive damages because Plaintiff cannot provide any evidence

Defendants took any action with evil motive or intent or in reckless disregard of Plaintiffs

federally protected rights. See Calhoun v. DeTefla, 319 F.3d 936 (7th Cir. 2003) ("Punitive

damages are awarded to punish and deter reprehensible conduct[]" and ··may be awarded under§

1983 upon a showing of evil motive or intent, or reckless or callous indifference to the federally

protected rights ofothers."); Ollie v. Atchison, 753 Fed. Appx. 406, 407-08 (7th Cir. 2019) (finding


                                                                                                    31
                      4:18-cv-04063-SEM-TSH # 133-3                 Page 13 of 25
      4:18-cv-04063-SEM-TSH # 121              Page 33 of 36




inquiry is required: ( 1) whether a constitutional right would have been violated on the facts alleged,

and (2) whether the right alleged to have been violated was clearly established. Saucier v. Katz,

533 U.S. 194, 200(2001 ). Courts may exercise their discretion in deciding which of the two prongs

should be addressed first in light of circumstances in the particular case at hand. Pearson v.

Callahan, 555 US, 223,233 (2009).

        "To be clearly established, a right must be sufficiently clear that every reasonable official

would have understood that what he is doing violates that right." Reichle v . Howards, 566 U.S.

658,664 (2012) (internal citations and quotations omitted). This is a high bar. Kramer v. Pollard,

497 Fed. Appx. 639, 642 (7th Cir. 2012). Existing precedent must have placed the statutory or

constitutional question beyond debate. Kisela v. Hughes, 138 S. Ct. 1148, 1 152 (2018). An official

who makes a reasonable mistake as to what the law requires is entitled to the defense of qualified

immunity. Saucier, 533 U.S. at 205. Courts may grant qualified immunity on the ground that a

purported right was not clearly established by prior case law, without resolving the often more

difficult question whether the purported right exists at all. Reichle, 566 U.S. at 664.

        Here, under the first prong of the analysis, the facts alleged do not give rise to a violation

of Plaintiffs rights under the First or Fourteenth Amendments. As analyzed in the preceding

sections, Defendants Baldwin, Pelker, Gans, Frost, and Dorethy were not personally involved in

the alleged constitutional violations. Under the second prong of the analysis, Defendants are also

entitled to qualified immunity because if they were to be held liable despite no evidence of personal

involvement, it would constitute a heightened standard under current law.

        Defendants are entitled to qualified immunity on Plaintiffs First Amendment free.exercise

claim. Under the first prong of the analysis, the evidence on the record shows Plaintiff s religious

 practice with respect to his request for meatless meals on Fridays during Lent was not substantially



                                                                                                      33
                    4:18-cv-04063-SEM-TSH # 133-3               Page 14 of 25
      4:18-cv-04063-SEM-TSH # 121              Page 35 of 36




Plaintiffs protected speech to an adverse action by Defendant Rojas, it would constitute a

heightened standard. Furthermore, Defendant Rojas would be entitled to qualified immunity

because it is not clearly established that making a decision to limit participation in a religious

service based on safety and security concerns related to maximum occupancy limits of the space

in which the events were held or that determining who be allowed to participate based on a neutral

reason would constitute retaliation under the First Amendment.

       Wherefore, Defendants respectfully request this honorable Court grant summary judgment

in their favor and deny Plaintiff any relief whatsoever.

                                                      Respectfully submitted,

                                                      Manuel Rojas, Stephanie Dorethy, Freddie
                                                      Britton, John Frost, Steve Gans, Melissa
                                                      Pelker, and John Baldwin,

                                                             Defendants,

                                                      Kwame Raoul,
Clayton J. Ankney, No. 6320224                        Illinois Attorney General,
Assistant Attorney General
500 South Second Street                                      Attorney for Defendant,
Springfield, lllinois 62701
(217) 785-4555 Phone                              By: s/Clayton J. Ankney
(217) 782-8767 Fax                                      Clayton J. Ankney
Email: cankney@atg.state.il.us                          Assistant Attorney General




                                                                                                 35
                                4:18-cv-04063-SEM-TSH # 133-3                Page 15 of 25


Huffer, Sally

From:                              ECF_Returns@ilcd.uscourts.gov
Sent:                              Tuesday, July 21, 2020 12:00 AM
To:                                ECF_Notices@ilcd.uscourts.gov
Subject:                           [External] Activity in Case 4:18-cv-04063-SEM-TSH O' Neal et al v. Rojas et al Response
                                   t o Motion



This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to this e-mail
because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and
parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed electronically, if
receipt is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later charges,
download a copy of each document during this first viewing. However, if the referenced document is a transcript, the
free copy and 30 page limit do not apply.

                                                    U.S. District Court

                                             CENTRAL DISTRICT OF ILLINOIS


Notice of Electronic Filing

The following transaction was entered by Ankney, Clayton on 7/20/2020 at 11:59 PM CDT and filed on 7/20/2020
Case Name:          O'Nea l et al v. Rojas et al
Case Number:          4:18-cv-04063-SEM-TSH
Filer:                John Baldwin
                      Freddie Britton
                      Stephanie Dorethy
                      John Frost
                      Steve Gans
                      Melissa Phoenix
                      Manuel Rojas
Document Number: 122


Docket Text:
RESPONSE to Motion re [106] MOTION for Summary Judgment filed by Defendants John
Baldwin, Freddie Britton, Stephanie Dorethy, John Frost, Steve Gans, Melissa Phoenix,
Manuel Rojas. (Ankney, Clayton)


4:18-cv-04063-SEM-TSH Notice has been electronically mailed to:

Clayton J Ankney    CAnkney@atg.state.il.us, ddesalle@atg.state.il.us, gls@atg.state.il.us, LCrouch@atg.stat e.il.us

David A Perkins    dperkins@heylroyster.com, lmunge@heylroyster.com, peoctdocket@heylroyster.com

Robert Ricks Tenney     rtenney@heylroyster.com, rsummer@heylroyster.com

4:18-cv-04063-SEM-TSH Notice has been delivered by other means to:
                                                              1
                     4:18-cv-04063-SEM-TSH # 133-3               Page 16 of 25
      4:18-cv-04063-SEM-TSH # 122              Page 1 of 16                                             E-FILED
                                                                          Monday, 20 July, 2020 11 :59:31 PM
                                                                              Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS

Aaron O ' Neal , N 53022,                         )
                                                  )
       Plaintiff,                                 )
                                                  )
       V.                                         )       Case No. 18-4063-SEM-TSH
                                                  )
Manuel Rojas, et al.,                             )
                                                  )
       Defendants.                                )

         RESPONSE TO PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT

       Defendants, Manuel R~jas, Stephanie Dorethy, Freddie Britton, John Frost, Steve Gans,

Melissa Pelk.er, and John Baldwin, through their attorney, Kwame Raoul, Attorney General for the

State of Illinois, pursuant to Federal Rule of Civil Procedure 56 and Local Rule 7. l(D), hereby

respond to Plaintiff' s motion for summary judgment [Doc. 106]:

                                       INTRODUCTION

       On March 22, 2018, Plaintiff filed his Complaint. [Doc. 1]. Plaintiffwas allowed to proceed

on a First Amendment claim concerning his right to practice his religion, a Fourteenth Amendment

equal protection claim, a Religious Land Use and Institutionalized Persons Act claim, and a First

Amendment retaliation claim.

       Specifically, Plaintiff: (1) claims Defendants Rojas, Dorethy, Britton, Frost, Gans, Pelker,

and Baldwin violated his First Amendment rights by failing to provide him with meatless meals

on Fridays during Lent; (2) claims Defendants Rojas, Dorethy, Britton, Frost, Gans, Pelker, and

Baldwin provided offenders with other religious affiliations with special religious diets but refused

to provide special religious diets to Catholics during Lent; (3) claims Defendant Rojas retaliated

against Plaintiff for complaining about a religious diet by removing Plaintiff from the list o f

individuals allowed to participate in Cursillo; and (4) claims the Religious Land Use and
                    4:18-cv-04063-SEM-TSH # 133-3              Page 17 of 25
      4:18-cv-04063-SEM-TSH # 122             Page 3 of 16




that Catholics are required to give up something during Lent as a sacrament. In fact, the document

to which Plaintiff cites specifically lists 7 sacraments, none of which are or involve Lent.

Furthermore, whether Catholics are required to give up meat for Lent is immaterial to resolving

the parties' motions for summary judgment, as the evidence shows Plaintiff was able to abstain

from meat on Fridays during Lent without any risk to his health and that Defendants did not

substantially burden his religious practice, as discussed in Defendants motion for summary

judgment.

       5.      Defendants object to Plaintiffs Undisputed Material Fact 5 because it does not

appear to be supported by any document on record and is too vague an assertion for Defendants to

provide a response. Plaintiff cites to Ex. 36 § 1, but Defendants have been unable to locate an

exhibit marked as such. Therefore, this fact is disputed. Furthermore, whether Plaintiff requested

meatless meals for Lent is immaterial to resolving the parties' motions for summary judgment, as

the evidence shows Plaintiff was able to abstain from meat on Fridays during Lent without any

risk to his health and that Defendants did not substantially burden his religious practice, as

discussed in Defendants motion for summary judgment.

       6.      It is undisputed that Plaintiff has cited to the Chaplaincy Handbook of Religious

Beliefs and Practices and that the handbook recognizes the Catholic practice of abstaining from

meat on Fridays during Lent. Whether abstention from meat during Lent is included in the

Chaplaincy handbook is immaterial to resolving the parties' motions for summary judgment, as

the evidence shows Plaintiff was able to abstain from meat on Fridays during Lent without any

risk to his health and that Defendants did not substantially burden his religious practice, as

discussed in Defendants motion for summary judgment.




                                                                                                 3
                       4:18-cv-04063-SEM-TSH # 133-3               Page 18 of 25
       4:18-cv-04063-SEM-TSH # 122               Page 5 of 16




not establish Defendants' personal involvement, and the evidence shows Plaintiff was able to

abstain from meat on Fridays during Lent without any risk to his health and that Defendants did

not substantially burden his religious practice, as discussed in Defendants motion for summary

judgment.

        l 0.    It is disputed that the documents to which Plaintiff cites supports the assertion that

'·Defendant Rojas is required by IDOC protocol to know and understand the practices of religious

faiths within the IDOC, specifically, HCC." Nothing cited by Plaintiff supports this specific

assertion. Therefore, it is disputed. Furthermore, violation of an individual' s job responsibilities,

Administrative Directives, or even state law is immaterial to the question of whether a defendant

violated Plaintiff's constitutional or federal statutory rights.

        11.     It is disputed that the documents cited to by Plaintiff support the assertions

contained in Plaintiffs Undisputed Material Fact 11. It is not clear what Exhibits F is, and

Defendants have been unable to identify any exhibits labeled as such in the documents attached to

Plaintiffs motion for summary judgment. It is further disputed that the documents cited by

Plaintiff support Plaintiffs assertion that Defendant Rojas removed him from the list of individuals

who wanted to participate in Cursillo because of complaints about Lent meals. Plaintiff provides

no evidence, other than his own speculation, to support this fact. Therefore, it is disputed. It is

undisputed that Plaintiffwas unable to attend one Cursillo and one Ultreya event due to the number

of individuals who requested to attend and the maximum occupancy limits for the Hill Correctional

Center Chapel. That Plaintiff was unable to attend these services is immaterial to resolving

Defendants' motion for summary judgment because the evidence on the record establishes that

Plaintiff cannot establish a causal connection between his alleged complaints about a special Lent




                                                                                                    5
                         4:18-cv-04063-SEM-TSH # 133-3             Page 19 of 25
       4:18-cv-0406-3-SEM-TSH # 122             Page 7 of 16




concerns and because those offenders had already had to opportunity to participate in Cursillo.

[Doc. 106-2, p. 7]. It is undisputed that Defenant Rojas further explained that a decision was made

to allow newer Catholic participants to participate in Cursillo. It is disputed that Defendant Rojas's

response supports Plaintiff's assertion that Defendant Rojas removed him from the list of

individuals who wanted to participate in Cursillo. As Defendant Rojas stated in his declaration,

Plaintiff was not removed from the list to participate in Cursillo and Ultreya, he simply was not

able to attend on this occasion due to the number of offenders who wanted to participate and the

lack of space in the Chapel to allow all offenders to participate. [Doc. 121-3]. It is material that

offender other than Plaintiff were also not allowed to participate in Cursillo due to safety and

security concerns because it shows there was no causal connection between Plaintiffs alleged

protected conduct and Plaintiff's inability to attend Cursillo. It is undisputed that Defendant Rojas

indicated he could not answer Plaintiff's questions concerning his FOIA request without legal

representation. However, whether Defendant Rojas was willing to answer Plaintiff's questions

concerning his FOIA request is immaterial to the constitutional and federal statutory claims at

issue in this lawsuit.

        14.     It is disputed that the document cited to by Plaintiff supports the assertions

contained in Plaintiff's Undisputed Material Fact 14. It appears Plaintiff has not attached the

exhibit referenced in this fact. However, whether Plaintiff listed witnesses in his grievance is

immaterial to whether Defendants violated his constitutional of federal statutory rights. There is

no constitutional right to a grievance procedure and a violation of an individual's job

responsibilities, Administrative Directives, or even state law is immaterial to the question of

whether a defendant violated Plaintiffs constitutional or federal statutory rights.




                                                                                                     7
                       4:18-cv-04063-SEM-TSH # 133-3                Page 20 of 25
       4:18-cv-04063-SEM-TSH # 122               page 9 of 16




exhibits cited to by Plaintiff support the argumentative assertions contained in this fact.

Furthermore, Defendant Rojas· s various discovery responses without connection to a discernible

fact at issue are immaterial to the issues in this lawsuit.

        19.    It is disputed that the documents cited by Plaintiff support the assertion that IDOC

allows offenders to practice, celebrate, and observe each of their religious tenets unrestricted by

their incarceration. The documents cited by Plaintiff do not support the assertion that IDOC allows

offenders to engage in all of their religious practices if those religious practices, for instance pose

a risk to the safety and security of the institution because Plaintiff is incarcerated. It is immaterial

because the evidence shows Plaintiff was able to abstain from meat on Fridays during Lent without

any risk to his health and that Defendants did not substantially burden his religious practice, as

discussed in Defendants' motion for summary judgment.

       20.     It is d isputed that the documents cited by Plaintiff support the assertion that

Defendants Frost, Gans, Dorethy, Pelker, and Baldwin disregarded IDOC protocol with respect to

the grievance procedure. Additionally, it is immaterial whether Defendants violated the grievance

procedure because there is no constitutional right to a grievance procedure and a violation of an

individual's job responsibilities, Administrative Directives, or even state law is immaterial to the

question of whether a defendant violated Plaintiff's constitutional or federal statutory rights.

       21.     Defendants object to this fact, because Plaintiff has not cited to any exhibit or

document to support this assertion, as required by Local Rule 7.l(D)(l)(b). Therefore, the Court

should disregard this purported fact.

       22.     It is undisputed that Defendant LaHood's response to Plaintiff's request for

admission ·'admits that the statement contained in Paragraph 7, but notes that there are many

exceptions to the general rule and incarceration is one of those exceptions." It is immaterial



                                                                                                      9
                      4:18-cv-04063-SEM-TSH # 133-3                 Page 21 of 25
      4:18-cv-04063-SEM-TSH # 122               Page 11 of 16




       27.     Defendants object to this request because it is not clear to which interrogatory

responses Plaintiff is referring. Therefore, the Court should disregard this purported fact. It further

is disputed that the documents cited by Plaintiff support the assertions in this purported fact.

       28.     Defendant objects to this fact because it is argumentative and not supported by the

documents cited. It is disputed that the memo indicates that Plaintiff was removed from the list of

individuals who wanted to participate in Cursillo. As Defendant Rojas stated in his declaration,

Plaintiff was not removed from the list to participate in Cursillo and Ultreya, he simply was not

able to attend on this occasion due to the number of offenders who wanted to participate and the

lack of space in the Chapel to allow all offenders to participate. [Doc. 121-3]. It is material that

offenders other than Plaintiff were also not allowed to participate in Cursillo due to safety and

security concerns because it shows there was no causal connection between Plaintiffs' s alleged

protected conduct and Plaintiff's inability to attend Cursillo. It is material, because it shows

Defendant Rojas did not retaliate against Plaintiff. It is also immaterial whether Defendant Frost

was aware Plaintiff was allegedly removed from the Cursillo list because Defendant Frost's

participation in the grievance procedure is not sufficient to establish his personal involvement in

the alleged constitutional and statutory deprivations.

                              ADDITIONAL MATERIAL FACTS

       Defendants hereby incorporate Undisputed Material Facts 1- 62 from Defendants' motion

for summary judgment [Doc. 121], as if fully restated here.

                                           ARGUMENT

       Instead of fully restating the arguments made in their motion for summary judgment and

for the purpose of judicial economy, Defendants hereby incorporate the arguments made in their

motion for summary judgment [Doc. 121 ], which establish that Defendants are entitled to summary



                                                                                                    11
                       4:18-cv-04063-SEM-TSH # 133-3              Page 22 of 25
         4:18-cv-04063-SEM-TSH # 122           Page 13 of 16



conclusory argument without citation to specific factual support is insufficient to support summary

judgment in his favor. Therefore, Plaintiff's motion for summary judgment should be denied.

         2.     Plaintiff is not entitled to summary judgment on his free exercise claim.

         The entirety of Plaintiff' s argument in favor of summary judgment on his free exercise

claim is that there was no penological interest in not allowing Plaintiff to observe Lent.

         However, again, Plaintiff has not and cannot provide evidence establishing his religious

practice with respect to Lent was substantially burdened. [Doc. 121 , Section 2]. As discussed in

Defendants' motion for summary judgment, Plaintiff cannot provide evidence showing he would

have lacked adequate nutrition if he avoided all meals on Fridays during Lent which contained

meat, especially in light of the amount of food he was able to purchase at the commissary, and in

light of the fact that fish was provided on Fridays dming Lent. Plaintiff's conclusory argument

without citation to s pecific factual support is insufficient to support swnmary judgment in his

favor.

         Therefore, because Plaintiff' s religious exercise was not substantially burdened,

Defendants are entitled to summary judgment on Plaintiffs free exercise claim. At minimum,

Plaintiff has failed to provide sufficient evidence at the summary judgment stage, as he has cited

to no facts suppo11in g his argument, to show he is entitled to summary judgment. Therefore,

Plaintiffs motion for summary judgment should be denied.

          3.     Plaintiff is not entitled to summary judgment on his retaliation claim.

          Plaintiffs motion for summary judgment with respect to his retaliation claim consists of a

single conclusory argument Plaintiff complained about Lent meals and Defendant Rojas

subsequently prohibited Plaintiff from attending Cursillo. However, as discussed in Defendants'

motion for summary judgment, Plaintiff is unable to establish a causal connection between the



                                                                                                  13
                    4:18-cv-04063-SEM-TSH # 133-3                Page 23 of 25
      4:18-cv-04063-SEM-TSH # 122           Page 15 of 16



       Wherefore, Defendants respectfully request this honorable Court deny Plaintiffs motion

for summary judgment and deny Plaintiff any relief whatsoever.

                                                  Respectfully submitted,

                                                  Manuel Rojas, Stephanie Dorethy, Freddie
                                                  Britton, John Frost, Steve Gans, Melissa
                                                  Pelker, and John Baldwin,

                                                          Defendants,

                                                  Kwame Raoul,
Clayton J. Ankney, N o. 6320224                   Illinois Attorney General,
Assistant Attorney General
500 South Second Street                                   Attorney for Defendant,
Springfield, Illinois 62701
(217) 785-4555 Phone                           By: s/Clayton J. Ankney
(217) 782-8767 Fax                                   Clayton J. Ankney
Email: cankney@atg.state.il.us                       Assistant Attorney General




                                                                                             15
                      4:18-cv-04063-SEM-TSH # 133-3              Page 24 of 25



COUNTYOF_
        ~=--
         (JJO~°i;...__ _

                                         AFFIDAVIT

I, A~ 0 )JfAL                N5302..,'Z,_                                   , hereby declare
under penalty of perjury that the following is true and correct based upon my person~!
knowledge,. and that I am compe~ent to testify hereto if called upon as a witness.    J _                     -~   I
                       \             · t        u.                 ~,o Q:J
 ;11 flh[ 21<ID£ Of -SC~-\.tiLf:. 9· 2S:- 202.0 'm'.lLi ±b'irl:: i hau<".
 ce'Od aod 1 wdecclacd all too±<'.o"k; enc.la.~ -




PLEASE TAKE NOTICE that on ,&e,C.{V\            ber     z-5✓, 20 20, I placed the attached or
enclosed documents in the institutional~il at Ht:f-JJ<...'f }:\:!1 l <     Correctional Center,
properly addressed to the parties listed above for mail.ing through the U nited States Postal
Service.

P ursuant to 28 USC 1746, 18 USC 1621 or 735 ILCS 5 1-109, I declare, unde r penalty of
perjury, that I am a named party in the above action, that I have read t he above documents,
and that the information contained therein is true and correct to the best of    k n . ledge.

                                                  /s/.....>.c._..._~~'-'i.:,,,C.....,.,----"'--<---   -   -
                                                  Name:                  0
                                                  lDOC#   l\,L5,3 D2-.<-
                                                  Address: f?.Q. :60)( J7iJO
                                                                G,AL€SBl1R.g :CL.             I


                                                                    fu·)l/0).
   ti}ttTeb STATES J)LSTCTCT CoLIIT
                              .
                                                  4:18-cv-04063-SEM-TSH # 133-3   Page 25 of 25




                                                                                                           rahoof.
                                    .;:::. :   ·r; -   _.,. ....      .             - --·   .. •   .   -




:atr£Al~TRICf Of I!.tl)l(}B';SPIDtif
    AA£o>J o~EAL- ?@'sc
       [> l:1i11 \ iff, l \· 1it ion•.' !'

                   ¼ ..

        ~ t lEL fW3A5
       1),·(t•ndant h1 (•:,p , H1, lt- 11 t
                                                                   a. al~,-




  --   --- -- -          -
